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  8                         UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
 10                                  WESTERN DIVISION
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 12   MELISSA MEYER, on behalf of                  Case No. 2:17-CV-04631-SJO-MRW
      herself and all others similarly situated,
 13                                                Hon. S. James Otero
                       Plaintiff,
 14                                                ORDER GRANTING JOINT
            v.                                     STIPULATION TO DISMISS
 15                                                ACTION WITH PREJUDICE AS
      EXPERIAN INFORMATION                         TO PLAINTIFF’S INDIVIDUAL
 16   SOLUTIONS, INC.,                             CLAIMS
 17                    Defendants.
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                                                                   Case No. 2:17-cv-04631-SJO-MRW
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  1         Based upon the Joint Stipulation to Dismiss, and good cause, this Court
  2   hereby orders the action to be dismissed WITH prejudice as to Plaintiff’s individual
  3   claims. This Court may proceed to dismiss this action entirely. This Court will
  4   retain jurisdiction to enforce the settlement terms.
  5         IT IS SO ORDERED.
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  7          September 8, 2017
      Dated: ___________
  8                                                   Honorable James S. Otero,
                                                      United States District Judge
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